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     Federal Defender
2    MEGAN T. HOPKINS, #294141
     Assistant Federal Defender
3    Designated Counsel for Service
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4    Sacramento, CA 95823
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6    Attorney for Defendant
     SASHANA JAMES
7
8
9                             IN THE UNITED STATES DISTRICT COURT

10                          FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                        )   Case No. 2:21-mj-0103-CKD
                                                      )
13                          Plaintiff,                )   STIPULATION AND [PROPOSED] ORDER
                                                      )   TO EXTEND TIME FOR PRELIMINARY
14   v.                                               )   HEARING AND EXCLUDE TIME
                                                      )
15   SASHANA JAMES,                                   )
                                                      )   Date: August 5, 2021
16                          Defendant.                )   Time: 2:00 p.m.
                                                      )   Judge: Hon. Jeremy D. Peterson
17                                                    )

18
19            IT IS HEREBY STIPULATED, by and between the parties, through their respective

20   counsel, Special Assistant United States Attorney Robert Artuz, counsel for plaintiff, and

21   Assistant Federal Defender Megan T. Hopkins, counsel for defendant Sashana James, that the

22   preliminary hearing scheduled for August 5, 2021 at 2:00 p.m. be continued to October 28, 2021

23   at 2:00 p.m. pursuant to Federal Rule of Criminal Procedure 5.1(d).

24            The parties are conducting investigation and conferring about possible pre-indictment

25   resolution of the case, which will require additional time to facilitate. The parties believe that a

26   continuance of the preliminary hearing will allow necessary time to produce and review

27   discovery, continue investigation, and continue pre-indictment discussions in the anticipation of

28   resolving the case expeditiously.
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1            The parties agree that the ends of justice served by resetting the preliminary hearing date
2    outweigh the best interest of the public and the defendant in a speedy trial. Therefore the parties
3    agree that time is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv) (Local Code T4).
4
5    Dated: July 26, 2021                                  Respectfully submitted,
6                                                          HEATHER E. WILLIAMS
                                                           Federal Public Defender
7
                                                           /s/ Megan T. Hopkins
8                                                          MEGAN T. HOPKINS
                                                           Assistant Federal Defender
9                                                          Attorney for Defendant
                                                           Sashana James
10
11                                                         PHILLIP A. TALBERT
                                                           Acting United States Attorney
12
13   DATED: July 26, 2021                                  /s/ Robert Artuz
                                                           ROBERT ARTUZ
14                                                         Special Assistant United States Attorney
                                                           Attorney for Plaintiff
15
16
17
                                             [PROPOSED] O R D E R
18
19
             IT IS HEREBY ORDERED that the preliminary hearing scheduled for August 5, 2021,
20
     at 2:00 p.m. is continued to October 28, 2021, at 2:00 p.m. The time period between August 5,
21
     2021 and October 28, 2021 is excluded under the Speedy Trial Act pursuant to 18 U.S.C. §
22
     3161(h)(7)(A) and (B)(i) and (iv) [Local Code T4], as the ends of justice served by granting the
23
     continuance outweigh the best interest of the public and the defendant in a speedy trial.
24
25   Dated: July 27, 2021
26
27
28
     !Unexpected
      United States v.End  of FormulaUnited
                       Sashana James                 -2-
      Stipulation to Continue Preliminary Hearing
